Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF ALABAMA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                SSGWWJV, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  3405 Triana Boulevard SW
                                  Huntsville, AL 35805
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Madison                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    SSGWWJV, LLC                                                                                 Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5416

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                     Relationship
                                                 District                                 When                              Case number, if known




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Debtor   SSGWWJV, LLC                                                                              Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




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Debtor    SSGWWJV, LLC                                                                             Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      October 3, 2018
                                                  MM / DD / YYYY


                             X   /s/ James C. Mitchell                                                    James C. Mitchell
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   CEO




18. Signature of attorney    X   /s/ Tazewell T. Shepard                                                   Date October 3, 2018
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Tazewell T. Shepard ASB-4962-S68T
                                 Printed name

                                 Sparkman, Shepard & Morris, P.C.
                                 Firm name

                                 303 Williams Avenue, Suite 1411
                                 Huntsville, AL 35801
                                 Number, Street, City, State & ZIP Code


                                 Contact phone                                   Email address


                                 ASB-4962-S68T
                                 Bar number and State




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 Fill in this information to identify the case:
 Debtor name SSGWWJV, LLC
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF                                                                                         Check if this is an
                                                ALABAMA
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Advanced Gamma                                                                         Unliquidated                                                                      $25,229.17
 Electric, LLC
 5256 Ridgeline Drive
 Brownsville, TX
 78526
 Alabama                                                         State Income Tax       Unliquidated                                                                      $70,584.84
 Department of
 Revenue
 Income Tax Division
 P O Box 327460
 Montgomery, AL
 36132
 Alabama Dept of                                                 State                  Unliquidated                                                                      $15,175.75
 Labor                                                           Unemployment
 649 Monroe Street                                               Insurance
 Montgomery, AL
 36131
 American Express                                                                       Unliquidated                                                                    $140,000.00
 Company
 200 Vesey Street
 New York, NY
 10285-3106
 Arkansas                                                        State Income Tax       Unliquidated                                                                      $19,463.23
 Department of
 Finance
 Little Rock Revenue
 Central Office
 1900 W. 7th Street,
 Room 1040
 Little Rock, AR
 72201
 Baker Donelson                                                  Unpaid Legal Fees Unliquidated                                                                           $84,257.04
 420 20th Street
 North
 Birmingham, AL
 35203



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    SSGWWJV, LLC                                                                                       Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Firetrol Protection                                                                    Unliquidated                                                                      $13,737.87
 2320 Gravel Drive,
 Building 31
 Fort Worth, TX
 76118
 Innovative Power                                                                       Unliquidated                                                                      $16,077.87
 8606 Riverwood
 Drive
 Maumelle, AR 72113
 Internal Revenue                                                                       Unliquidated                                                                    $452,220.80
 Service
 PO Box 7346
 Philadelphia, PA
 19101-7346
 James Calvin                                                    Unpaid Wages           Unliquidated                                                                  $1,039,256.30
 Mitchell
 6017 Doc Sandlin
 Road
 Huntsville, AL 35811
 Joshuah Rodery                                                  Unpaid Wages           Unliquidated                                                                    $203,043.43
 7617 Mt. Carmel
 Drive
 Orlando, FL 32835
 Metropolitan Fire                                                                      Unliquidated                                                                      $74,492.78
 7179 Old Alexandria
 Ferry Road
 Clinton, MD 20735
 Powers Mechanical                                                                      Unliquidated                                                                      $32,270.25
 Service Co.
 5440 Northshore
 Drive
 North Little Rock,
 AR 72118
 River City                                                                             Unliquidated                                                                      $47,401.19
 Mechanical
 PO Box 13276
 Maumelle, AR 72113
 Schneider Electric                                                                     Unliquidated                                                                      $27,257.18
 1650 West Crosby                                                                       Disputed
 Road
 Carrollton, TX 75006
 Silver Star Shopping                                                                   Unliquidated                                                                      $20,347.20
 301 S. New York
 Avenue
 Suite 200
 Winter Park, FL
 32789
 Terrence Howard                                                 Unpaid Wages           Unliquidated                                                                      $12,310.00
 2903 Chantry Place
 Gurley, AL 35748




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    SSGWWJV, LLC                                                                                       Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Texas Air Systems                                                                      Unliquidated                                                                      $13,243.31
 2951 Northern Cross
 Boulevard
 Fort Worth, TX
 76137
 Virginia Tax                                                    State Income Tax       Unliquidated                                                                      $66,332.09
 Office of Customer
 Services
 PO Box 1115
 Richmond, VA
 23218-1115
 Woodbury-Beach                                                                         Unliquidated                                                                      $32,913.74
 Company
 6329 Crystal Hill
 Road
 North Little Rock,
 AR 72118




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Northern District of Alabama
 In re       SSGWWJV, LLC                                                                                     Case No.
                                                                                 Debtor(s)                    Chapter       11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                       0.00
             Prior to the filing of this statement I have received                                        $                       0.00
             Balance Due                                                                                  $                       0.00

2.     $    1,717.00        of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

4.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

5.           I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

             I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a
                 petition in bankruptcy;
                 b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
                 c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned
                 hearings thereof;
                 d. Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
                 e. The above-listed disclosed amount is a retainer amount. All legal work, including work in excess of the
                 retainer amount, will be billed hourly and subject to court approval.

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     October 3, 2018                                                             /s/ Tazewell T. Shepard
     Date                                                                        Tazewell T. Shepard ASB-4962-S68T
                                                                                 Signature of Attorney
                                                                                 Sparkman, Shepard & Morris, P.C.
                                                                                 303 Williams Avenue, Suite 1411
                                                                                 Huntsville, AL 35801

                                                                                 Name of law firm




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Advanced Gamma Electric, LLC             Innovative Power                     River City Mechanical
5256 Ridgeline Drive                     8606 Riverwood Drive                 PO Box 13276
Brownsville, TX 78526                    Maumelle, AR 72113                   Maumelle, AR 72113




Alabama Department of Revenue            Internal Revenue Service             RP Service
Income Tax Division                      PO Box 7346                          7777 North Shore Place
P O Box 327460                           Philadelphia, PA 19101-7346          North Little Rock, AR 72118
Montgomery, AL 36132



Alabama Dept of Labor                    James Calvin Mitchell                Schneider Electric
649 Monroe Street                        6017 Doc Sandlin Road                1650 West Crosby Road
Montgomery, AL 36131                     Huntsville, AL 35811                 Carrollton, TX 75006




American Express Company                 Joshuah Rodery                       Silver Star Shopping
200 Vesey Street                         7617 Mt. Carmel Drive                301 S. New York Avenue
New York, NY 10285-3106                  Orlando, FL 32835                    Suite 200
                                                                              Winter Park, FL 32789



Arkansas Department of Finance           Metropolitan Fire                    Terrence Howard
Little Rock Revenue Central Office       7179 Old Alexandria Ferry Road       2903 Chantry Place
1900 W. 7th Street, Room 1040            Clinton, MD 20735                    Gurley, AL 35748
Little Rock, AR 72201



Arkansas Filter, Inc.                    Millennium Power Systems Services    Texas Air Systems
130 Brookswood Road                      845 Long Branch Circle               2951 Northern Cross Boulevard
Sherwood, AR 72120                       Sugar Hill, GA 30518                 Fort Worth, TX 76137




Baker Donelson                           Pearl Capital                        Texas Comptroller of Public Accou
420 20th Street North                    100 William Street, 9th Floor        PO Box 13528, Capital Station
Birmingham, AL 35203                     New York, NY 10038                   Austin, TX 78711




Everest Funding                          Powers Mechanical Service Co.        Twin Fire Protection
8200 NW 52 Terrace, Floor 2              5440 Northshore Drive                PO Box 530540
Doral, FL 33166                          North Little Rock, AR 72118          Harlingen, TX 78553




Firetrol Protection                      Reliable Fire Protection             Virginia Tax
2320 Gravel Drive, Building 31           5510 Landers Road                    Office of Customer Services
Fort Worth, TX 76118                     Suite B                              PO Box 1115
                                         North Little Rock, AR 72117          Richmond, VA 23218-1115


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Woodbury-Beach Company
6329 Crystal Hill Road
North Little Rock, AR 72118




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